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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                             )
 Make the Road New York, et al.,             )
                                             )
               Plaintiffs,                   )
                                             )
 v.                                          )          Civil Action No. 1:19-cv-02369-KBJ
                                             )
 Kevin McAleenan, et al.,                    )
                                             )
               Defendants.                   )
                                             )

                              RESPONSE TO COURT’S ORDER

       Defendants submit this response to the Court’s order issued January 22, 2021, ordering that

the parties show cause “why this Court should not suspend consideration of this matter, including

Plaintiffs’ motion for a preliminary injunction, pending the agency’s review of its immigration

enforcement policies” and in light of a memorandum issued by the then-Acting Secretary of

Homeland Security “paus[ing] ... removals of some of the noncitizens who are subject to the

expedited removal designation” at issue in this case.

       As explained below, given the President’s Executive Order issued February 2, 2021

directing the Department of Homeland Security to promptly review the designation at issue in this

case and to consider whether to modify, revoke, or rescind it, the Department’s ongoing review of

its rules, policies, and practices concerning immigration enforcement, including the designation at

issue in this case, and the Departments’ revised enforcement priorities, Defendants agree that the

Court should suspend consideration of this matter. Save Jobs USA v. Dep’t of Homeland Sec., 942

F.3d 504, 508 (D.C. Cir. 2019) (previously holding “the case in abeyance, initially to allow the

incoming administration time to consider the case and later because the Department expected to

begin the process of rescinding the rule”). An abeyance would conserve judicial resources, avoid


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further litigation, and obviate the need to address any novel legal issues this case raises. In addition,

although a district court in the Southern District of Texas issued a temporary restraining order

enjoining implementation of the 100-day pause of certain removals, see Texas v. United States,

No. 6:21-CV-00003, 2021 WL 247877 (S.D. Tex. Jan. 26, 2021), as explained below, an abeyance

will not prejudice Plaintiffs. Defendants further propose to submit a status report concerning the

status of the designation at issue in this case within either 60 days of the date of any order holding

this matter in abeyance, or, in the event the designation is modified or rescinded, the date of that

modification or rescission, whichever occurs first. In support of this response, Defendants state as

follows:

        1.       On July 23, 2019, the Department of Homeland Security, exercising its authority

under 8 U.S.C. § 1225(b)(1)(A)(iii), issued a designation, published in the Federal Register,

designating certain non-citizens not covered by a prior designation encountered anywhere in the

United States within two years of crossing the border as eligible for removal under expedited

removal procedures. See Designating Aliens for Expedited Removal, 84 Fed. Reg. 35,409, 35,411

(July 23, 2019).

        2.       Although this Court previously enjoined the designation, see Make the Rd. New

York v. McAleenan, 405 F. Supp. 3d 1, 39-60 (D.D.C. 2019), the D.C. Circuit reversed this Court’s

grant of an injunction in a published decision. See Make The Rd. New York v. Wolf, 962 F.3d 612,

623 (D.C. Cir. 2020). Following the issuance of the mandate in the Court of Appeals, the

designation became operative nationwide.

        3.       Plaintiffs filed a motion to amend their complaint, adding two new claims, and a

renewed motion for preliminary injunction. Dkts. 55, 56-1. The Court held argument on November

13, 2020, and the motion for preliminary injunction remains pending.




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       4.       On January 20, 2021, President Biden signed an Executive Order revoking

Executive Order 13768, Enhancing Public Safety in the Interior of the United States, issued

January 25, 2017. See Executive Order 13993 on the Revision of Civil Immigration Enforcement

Policies and Priorities, 86 Fed. Reg. 7051 (Jan. 25, 2021). Executive Order 13768 directed the

Department to, among other things, prioritize the removal of certain non-citizens described in 8

U.S.C. § 1225, the provision authorizing expedited removal of non-citizens.

       5.       The January 20, 2021 Executive Order further directed the Department to “review

any agency actions developed pursuant to Executive Order 13768 and take action, including

issuing revised guidance, as appropriate and consistent with applicable law” and the January 20,

2021 Executive Order.

       6.       On January 20, 2021, after issuance of the Executive Order, the Department

separately issued a memorandum directing the Department’s “components to conduct a review of

policies and practices concerning immigration enforcement.” See Review of and Interim Revision

to Civil Immigration Enforcement and Removal Policies and Priorities, available at

https://www.dhs.gov/sites/default/files/publications/21_0120_enforcement-memo_signed.pdf

(last accessed Feb. 1, 2021). In particular, the memorandum indicated that “[t]he United States

faces significant operational challenges at the southwest border as it is confronting the most serious

global public health crisis in a century.” Id. at 1. Further, the memorandum stated that “[i]n light

of those unique circumstances, the Department must surge resources to the border in order to

ensure safe, legal and orderly processing, to rebuild fair and effective asylum procedures that

respect human rights and due process, to adopt appropriate public health guidelines and protocols,

and to prioritize responding to threats to national security, public safety, and border security.” Id.




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        7.          To effectuate those goals, the memorandum directed that the Department

implement, effective February 1, 2021, interim civil enforcement guidelines. Id. at 2. The

memorandum further provided:

        In the interim and pending completion of [the] review [of the policies and practices
        concerning immigration enforcement], the Department’s priorities shall be:

        1. National security. Individuals who have engaged in or are suspected of
           terrorism or espionage, or whose apprehension, arrest and/or custody is
           otherwise necessary to protect the national security of the United States.

        2. Border security. Individuals apprehended at the border or ports of entry while
           attempting to unlawfully enter the United States on or after November 1, 2020,
           or who were not physically present in the United States before November 1,
           2020.

        3. Public safety. Individuals incarcerated within federal, state, and local prisons
           and jails released on or after the issuance of this memorandum who have been
           convicted of an “aggravated felony,” as that term is defined in section
           101(a)(43) of the Immigration and Nationality Act at the time of conviction,
           and are determined to pose a threat to public safety...”

Id. The memorandum further provides that “[t]hese priorities shall apply not only to the decision

to issue, serve, file, or cancel a Notice to Appear, but also to a broad range of other discretionary

enforcement decisions.” Id. Moreover, the memorandum mandates that “the Acting Director of

ICE shall issue operational guidance on the implementation of these priorities,” and that “[t]his

guidance shall also include a process for the Director of ICE to review and approve of any civil

immigration enforcement actions against individuals outside of federal, state or local prisons or

jails.” Id. at 3.

        8.          The memorandum also directed an “immediate 100-day pause on removals” to

begin no later than January 22, 2021. Id. at 3; but see Texas v. United States, No. 6:21-CV-00003,

2021 WL 247877 (S.D. Tex. Jan. 26, 2021) (temporarily enjoining the 100-day pause on certain

removals).




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       9.       In addition, on February 2, 2021, the President issued an Executive Order directing

the Department to “promptly review and consider whether to modify, revoke, or rescind” the

designation at issue in this case.” Executive Order, Creating a Comprehensive Regional

Framework to Address the Causes of Migration, to Manage Migration Throughout North and

Central America, and to Provide a Safe and Orderly Processing of Asylum Seekers at the United

States Border § 4.b.2, available at https://www.whitehouse.gov/briefing-room/presidential-

actions/2021/02/02/executive-order-on-creating-a-comprehensive-regional-framework-to-

address-the-causes-of-migration-to-manage-migration-throughout-north-and-central-america-

and-to-provide-safe-and-orderly-processing/ (last accessed Feb. 2, 2021). Accordingly, the

designation at issue in this case is presently undergoing review.

       10.      In light of the foregoing, Defendants respectfully submit that a temporary abeyance

of this case, to allow the Department to promptly review its policies, including the designation at

issue in this case, and to consider whether modifying or rescinding that designation is warranted.

An order holding this case in abeyance will serve judicial economy and prevent the expenditure of

further resources by the Court and the parties. See Save Jobs USA, 942 F.3d at 508 (explaining that

abeyance is appropriate in such circumstances). If the Department elects to issue a new designation

modifying or rescinding the July 23, 2019 designation at issue in this case, that may obviate the

need for any further proceedings in this case, including resolving the pending motion for

preliminary injunction. See, e.g., Wash. Alliance of Tech. Workers v. U.S. Dep’t of Homeland Sec.,

650 F. App’x 13, 14 (D.C. Cir. 2016) (dismissing case as moot and explaining that case challenging

agency regulation is “moot” when the challenged regulation “is no longer in effect”).

       11.      Moreover, because the designation is under review and may be modified if not

rescinded in the near future, the Court “may never need to” “decide the merits of [this] challenge

to the” designation. Wheaton Coll. v. Sebelius, 703 F.3d 551, 552 (D.C. Cir. 2012). That includes


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the novel jurisdictional and merits issues raised by Plaintiffs’ new claims—that Acting Secretary

McAleenan was unlawfully serving as “Secretary” when he issued the designation (Claim 7), Dkt.

55, ¶¶ 192-203, and that the designation unlawfully “extend[s] authority to place into expedited

removal individuals in the interior of the United States who have been physically present for up to

two years based on a determination that they are inadmissible under 8 U.S.C. § 1182(a)(7)” (Claim

8), id. ¶¶ 204-08. See Dkt. 62 at 113-24, 26-34, 53-60. And it also includes the previously

undecided claim concerning what, if any, due process rights non-citizens subject to the designation

have. See id. at 34-48. Where a rule is likely to be modified or rescinded, it is “preferable as a

general matter to review a set of claims in the context of an extant rather than a defunct rule.”

Ass’n of Am. Physicians & Surgeons v. Sebelius, 746 F.3d 468, 473 (D.C. Cir. 2014).

       12.     An abeyance also accords with the D.C. Circuit’s practice to hold regulatory

challenges in abeyance when a change in administration occurs. See Am. Lung Ass’n v. Envtl. Prot.

Agency, No. 19-1140, 2021 WL 162579, at *9 (D.C. Cir. Jan. 19, 2021) (recognizing abeyance

may be warranted in such circumstances even after a court “hear[s] argument ... but before we

issue[] a decision” when the agency “reassesse[s] its position” after a change in administration);

accord Save Jobs USA, 942 F.3d at 508. As the D.C. Circuit has also explained “[a] change in

administration brought about by the people casting their votes is a perfectly reasonable basis for

an executive agency’s reappraisal of the costs and benefits of its programs and regulations. As

long as the agency remains within the bounds established by Congress, it is entitled to assess

administrative records and evaluate priorities in light of the philosophy of the administration.”

Nat’l Ass’n of Home Builders v. E.P.A., 682 F.3d 1032, 1043 (D.C. Cir. 2012). An abeyance to

allow reappraisal of the designation at issue in this case accords with this principle.

       13.     In the event Plaintiffs become aware that any of their members are subject to an

enforcement action resulting in imminent removal during the pendency of any abeyance of this


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case, they can bring that to the government’s attention or, absent any other option, seek immediate

relief with the Court.

       14.     Consequently, Plaintiffs will suffer no prejudice from an abeyance of this case

pending the Department’s review of the designation and decision whether to modify or rescind it.

       For these reasons, the government respectfully requests that the Court “suspend

consideration of this matter, including Plaintiffs’ motion for a preliminary injunction, pending the

agency’s review of its immigration enforcement policies.” (Minute Order, Jan. 22, 2021).



                                                 Respectfully submitted,

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Dated: February 4, 2021                          Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 4, 2021, I electronically filed the foregoing document

with the Clerk of the Court for the United States Court District Court for the District of Columbia

by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will

be accomplished by the CM/ECF system.



                                 By: /s/ Erez Reuveni
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